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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                  VALDOSTA DIVISION

 KRISTEN DOMINGUE and CASEY                      :
 DOMINGUE,                                       :
                                                 :
           Plaintiffs,                           :
                                                 :     CIVIL ACTION FILE NO.:
 v.                                              :         7:20-cv-00098-HL
                                                 :
 FORD MOTOR COMPANY,                             :
                                                 :
           Defendants.                           :


 DEFENDANT FORD MOTOR COMPANY’S RESPONSE TO PLAINTIFFS’ MOTION
  IN LIMINE TO EXCLUDE ANY EVIDENCE, TESTIMONY OR DOCUMENTARY
           CONCERNING THE USE OR NON-USE OF A SEAT BELT


       Defendant Ford Motor Company (“Ford”), submits this Response to Plaintiffs’ Motion in

Limine to Exclude Any Evidence, Testimony or Documentary Concerning the Use or Non-Use of

a Seat Belt (“Motion”) (Dkt. 30), seeking a denial of Plaintiffs’ Motion and showing the Court as

follows:

                                       INTRODUCTION

       Plaintiffs’ expert witness, William Fischer, effectively acknowledged in his Rule

26(a)(2)(B) report, on page 19, as follows:




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       Thus, Plaintiffs acknowledge and indeed readily admit that a vehicle’s airbags are the

“supplemental restraint system” to a vehicle’s primary restraint system, the vehicle’s seat belts.

(Dkt. 30 at 2). Given the interconnected designs of restraints and airbags, it is pragmatically

impossible to try an alleged failed airbag deployment case, without discussing the restraint system.

And it would be impossible to conclude that a differently designed airbag would be safer, or would

not be more harmful, without considering occupant seat belt use or nonuse. Plaintiffs’ retained

experts cannot write a report without discussing restraints.

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       Plaintiffs’ Motion should be denied because (1) evidence unrelated to Plaintiffs’ actual seat

belt use falls outside O.C.G.A. § 40-8-76.1’s exclusionary limits, a proposition Plaintiffs do not

contest; (2) the nature of Plaintiffs’ defect allegations and expert testimony in this case have

already opened the door to the admission of all seat belt evidence; and (3) if, for the sake of

argument, Georgia’s seat belt statute were enforced in the manner Plaintiffs advocate, it would be

unconstitutional as applied, infringing upon Ford’s substantive due process and equal protection

rights under both the Georgia and United States Constitutions.

                              ARUGMENT AND AUTHORITIES

I.     Georgia’s Seat Belt Statute Is Not So Broad

       To begin, Georgia’s seat belt statute is silent on the admissibility of seat belt evidence

outside an occupant’s failure to use their seat belt. In 1988, the General Assembly enacted the

Georgia seat belt statute, O.C.G.A. § 40-8-76.1, Ga. Laws 1988, pg. 31. When it adopted O.C.G.A.

§ 40-8-76.1, the Legislature limited its scope “to provide that a failure to use seat safety belts may

not be introduced in evidence in any civil action and may not be used to diminish recovery of

damages[.]” 1988 Ga. Laws 31 (emphasis supplied). Subsequent amendments to O.C.G.A. § 40-

8-76.l(d) have expressed the same intention. 1999 Ga. Laws 276-277; 1993 Ga. Laws 516-517.

The adoption of O.C.G.A. § 40-8-76.1 was a change in Georgia law. “At the time of trial in 1989,

evidence of failure to use a seat belt was admissible on the question of damages if there was

evidence that the injuries could have been reduced by the use of a seat belt . . .” Payne v. Joyner,

197 Ga. App. 527, 528 (1990); see also Scott v. Chapman, 203 Ga. App. 58, 59 (1992) superseded

by statute on other grounds, Williams v. Harvey, 858 S.E.2d 479, 482 (Ga. 2021); Katz v. White,




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190 Ga. App. 458 (1989); Sapp v. Johnson, 184 Ga. App. 603, 605 (1987); F.A.F. Motor Cars,

Inc. v. Childers, 181 Ga. App. 821, 822 (1987).1

          The exclusionary scope of O.C.G.A. § 40-8-76.1 is a question of statutory construction.

The cardinal rule of statutory construction is that the words of a statute are to be given their plain

and unambiguous meaning. Early v. Early, 269 Ga. 415, 416, 499 S.E.2d 329 (1998). Georgia’s

seat belt statute specifically lists the improper purposes of admitting evidence of the failure to wear

a seat belt:

                 (d) The failure of an occupant of a motor vehicle to wear a seat
                 safety belt in any seat of a motor vehicle which has a seat safety belt
                 or belts shall not be considered evidence of negligence or causation,
                 shall not otherwise be considered by the finder of fact on any
                 question of liability of any person, corporation, or insurer . . . and
                 shall not be evidence used to diminish any recovery for damages
                 arising out of the ownership, maintenance, occupancy, or operation
                 of a motor vehicle.

O.C.G.A. § 40-8-76.1(d) (emphasis added).

          In Crosby v. Cooper Tire & Rubber Co., 240 Ga. App. 857, 866 (1999), rev’d on other

grounds, 273 Ga. 454 (2001), the Court held that subsection (d) is both plain and unambiguous.

The enactment of O.C.G.A. § 40-8-76.1(d) changed Georgia common law, but only as expressly

stated:

                 [S]tatutes are not understood to effect a change in the common law
                 beyond that which is clearly indicated by express terms or by
                 necessary implication. Sears v. Minchew, 212 Ga. 417, 420(2), 93
                 S.E.2d 746 (1956).

Avnet, Inc. v. Wyle Lab’ys, Inc., 263 Ga. 615, 620 (1993).

          The plain unambiguous language only limits evidence regarding the Plaintiff’s failure to

wear a seat belt and as such Georgia and Federal Courts have consistently permitted the use of


1
 The common law seat belt defense for causes of action accruing prior to September 1, 1988, is discussed in Frank E.
Jenkins III & Wallace Miller III, Georgia Automobile Insurance Law, § 51:20 (2009 ed.).

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other seat belt evidence at trial:

                [T]he plain language of the statute refers only to the failure of an
                occupant to wear a safety belt. It appears from the record that the
                undisputed evidence shows that [the non-plaintiff passenger in the
                subject vehicle] was restrained at the time of the accident and there
                is nothing in the statute which would preclude evidence of this
                restraint at trial. Likewise, the statute does not preclude evidence
                that a safety belt or restraint system was a design component of the
                vehicle.

Hockensmith v. Ford Motor Co., 2003 WL 25639639, at *4 (N.D. Ga. 2003) (emphasis added).

See also Order from DiMaso v. Ford Motor Co., CAFN: 99A-6172-6 (State Court of Cobb County,

July 1, 2003), attached hereto as Exhibit A (admitting “evidence that the subject vehicle was

equipped with a lap shoulder seatbelt restraint system that met all federal safety standards and that

the vehicle contained warnings and instructions concerning its use.”); see also Order from Nancy

Colp et al. v. Ford Motor Co., CAFN: 96-A-2205-5 (State Court of Cobb County, June 8, 2005),

attached hereto as Exhibit B (admitting “evidence that the vehicle was equipped with a seatbelt

system whose design met federal safety standards.”).

        The Georgia Court of Appeals has further upheld the admission of evidence of restraint use

as part of analyzing occupant’s kinematics during a given accident. In Fulton-Fritchlee v. Douglas,

the plaintiff sued for injuries allegedly sustained in a rear-end automobile accident. 240 Ga. App.

413, 415 (1999). At trial, defense counsel asked the plaintiff if the impact caused the plaintiff to

strike anything inside her vehicle. Id. The plaintiff was also asked how far the accident caused her

to move toward the steering wheel. Id. The Georgia Court of Appeals held that this line of

questioning did not unlawfully interject the issue of the use or non-use of seat belts into evidence.

Id. “The questioning never mentioned the issue of seatbelts,” and instead “dealt with the relevant

issue of force of the impact and how that force, or lack thereof, caused Fulton-Fritchlee’s body to

react.” Id.

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       Nothing in O.C.G.A. § 40-8-76.1(d) gives a party the right to mislead the jury or change

the facts. Based on the plain language, and a strict and narrow construction as required, the statute

does not prevent the admission of evidence regarding: (1) the general design, purpose, and

application of seat belts; (2) seat belt design as a component of any vehicle’s restraint system; (3)

the type of injuries which can be prevented with proper seat belt use (without reference to a

plaintiff’s specific nonuse); (4) all applicable federal safety standards; (5) the fact that this truck

was sold with warnings and instructions concerning proper use of a seat belt; (6) crashworthiness

implications created by seat belt misuse; and (7) accident reconstruction, occupant kinematics, and

biomechanical analyses, that necessarily encompass and consider seat belt use.

II.    Seat Belt Usage Evidence Is Admissible Due to the Nature of Plaintiffs’ Defect
       Allegations

       A.      The Pleadings Have Already Opened the Door

       Plaintiffs’ own allegations opened the door to the admission of evidence they say O.C.G.A.

§ 40-8-76.1(d) excludes. Plaintiffs seek recovery of damages for injuries allegedly arising from a

defect in the passenger side airbag—a failure to timely deploy. (Dkt. 1 at ¶ 5) (“When the collision

occurred, the passenger side airbag did not deploy. As the direct and proximate result of the

collision and the failure of the passenger side airbag to deploy, Plaintiff Kristen Domingue’s head

struck the windshield causing serious injury to her head, brain, and neck.”). The airbag is however,

but one component of any vehicle’s restraint system.

       A vehicle’s restraint system includes multiple components, a fact Plaintiffs acknowledge

in their Motion when they correctly refer to the vehicle’s airbag as a “supplemental restraint

system.” The primary crashworthiness design on all vehicles is the restraint system. (Dkt. 30 at 2).

The Ford Owner’s Manual instructs occupants to buckle-up even in vehicles with airbags:




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Owner’s Guide at 36.

       A jury must be able to consider the effectiveness and usage of each component of the

vehicle’s restraint system, including the primary restraint system. Indeed, under Georgia law a jury

is supposed to consider that and more in its risk/utility balancing. Banks v. ICI Americas, Inc., 264

Ga. 732, 450 S.E.2d 671 (1994)




       B.      Plaintiffs’ Crashworthiness Claims Open the Door

       A “crashworthy vehicle is one which, in the event of a collision, resulting accidentally or

negligently from the act of another and not from any defect or malfunction in the vehicle itself,

protects against unreasonable risk of injury to the occupants.” Higginbotham v. Ford Motor Co.,

540 F.2d 762, 769 (5th Cir. 1976). In a crashworthiness case, Georgia law places the burden on the

plaintiff to prove that the alleged design defect was a substantial factor in producing damages over

and above those caused by the original impact. Polston v. Boomershine Pontiac-GMC Truck, Inc.,


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262 Ga. 616, 618–19 (1992). This is the so-called second crash that occurs when the occupant

strikes the interior of the vehicle.

        Airbags are designed to supplement the protections afforded by seat belt use, not replace

them. Expert testimony in this case will inform the jury that Plaintiff Kristen Domingue (“K.

Domingue”) did not need a supplemental restraint. Had her seat belt been properly worn, it would

have likely prevented her from striking the windshield. Ford designed each component of the F-

250’s restraint system to work in conjunction with and compliment other components of that

system. A jury must be permitted to consider the vehicle’s restraint system (as it was originally

designed by Ford) in determining crashworthiness. Nothing in O.C.G.A. § 40-8-76.1(d) prevents

it from doing so. See McElroy v. Allstate Ins. Co., 420 So. 2d 214, 216-17 (La Ct. App. 1982).

        C.      The Testimony of Plaintiffs’ Expert Witnesses Has Opened the Door to Evidence of
                Plaintiffs’ Seat Belt Usage

        If the pleadings and inherent attributes of pursuing a crashworthiness claim did not already

open the door and estop Plaintiffs from relying upon O.C.G.A. § 40-8-76.1(d), then their own

expert testimony surely has. The doctrine of “opening the door” is premised on the principle that

by raising an issue, a party has waived any objection to evidence relevant to that issue. It is a rule

of fairness known variously as “waiver,” “estoppel,” “opening the door,” and “curative

admissibility.” Beech Aircraft Corp. v. Rainey, 488 U.S. 153, 177 n.2 (1988). Even when a party

“opens the door” with inadmissible evidence, his opponent is entitled to respond in kind when

necessary to rebut what might otherwise leave a false impression with the jury regarding a material

issue. Metro Atlanta Trucking Co. v. Kyzer, 217 Ga. App. 630, 458 S.E.2d 416 (1995) (defendant’s

testimony that his driver had a “clean” driving record opened door to plaintiff’s evidence of

driver’s poor record).




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       Plaintiffs retained biomechanical expert, Harold Miller (“Miller”), testified that: (1)

Plaintiff K. Domingue was properly wearing her seat belt at the time of the accident, (2) her seat

belt did not malfunction, and (3) K. Domingue’s head would not have struck the vehicle’s

windshield had the passenger side airbag deployed. Deposition of Harold Miller (“Miller Depo”)

at 30:20–31:2, 53:12–17, 57:20–59:14, 69:18–23, 78:4–13, 82:9–20. These opinions are somewhat

perplexing because in his report Miller stated that “[i]f Ms. Domingue was wearing her belt as she

states and the abrasions would suggest, a seatbelt malfunction would have likely been necessary

for windshield contact to occur.” Miller Depo, Exhibit No. 6., Expert Report. He has testified both

that there was no malfunction of the seat belt and that it did malfunction. Both statements cannot

be correct.

       If that were not enough to open the door to vetting the true facts, Miller then testified that

K. Domingue’s seat belt might not have prevented her from striking the windshield, even if it was

properly worn and assuming no malfunction. Miller Depo at 32:14–33:4; 56:4–59:14; 62:20–64:3.

Miller says that K. Domingue could have still struck her head on the front windshield if her seat

was pulled too far forward:

               Q.     So that leads us back to she can only hit the windshield if the
                      seatbelt -- if she was wearing the seatbelt and it
                      malfunctioned or she was not wearing it, right?

               A.     Yeah, and there’s one -- there’s one other possibility that I
                      should have put in there.

               Q.     Okay.

               A.     And it would be sitting in close proximity to the instrument
                      panel.

               Q.     If she was out of position, sitting too far forward?

               A.     Well, she could be out of position or she might have her seat
                      adjusted so that she’s quite close.

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Id. at 57:6–14 (emphasis added). Miller concedes that this third theory is just that, a theory:

               Q.      Okay. Even though you haven’t looked at any crash tests,
                       any sled tests, any engineering drawings, you haven’t done
                       a surrogate study, are you able to render an opinion that if
                       Ms. Domingue had been wearing her seatbelt and it
                       functioned properly, she still could have -- her head still
                       could have reached the windshield and fractured it?

               A.      Well, it did reach the windshield, and I believe she was
                       wearing it. So I would say that’s --

               Q.      Is it physically possible for a -- for this properly functioning
                       seatbelt, if it were being work, for her to reach that location
                       on the windshield in this crash?

               A.      I haven’t demonstrated that. That would -- that would
                       require a surrogate study.

               Q.      Which you have not done?

               A.      Which I have not done.

Id. at 62:20–63:12 (emphasis added). In sum, we have three different theories of what could have

caused K. Domingue’s injurious contact with the front windshield. How do Plaintiffs intend to

establish at trial what really happened? The answer is Dkt #30. They seek to prevent Ford from

challenging whatever version they ultimately pursue.

       Ford must be permitted to develop and present evidence refuting Miller’s testimony of K.

Domingue’s seat belt usage now that it has been placed at issue. If Georgia’s seat belt statute does

not exclude Miller’s testimony, it does not exclude Ford from responding to it. Plaintiffs may not

open the door and then close that same door, preventing a fair and complete presentation of the

evidence. Again, nothing in O.C.G.A. § 40-8-76.1(d) gives a party a right to mislead the jury.

III.   If, as Applied, O.C.G.A. § 40-8-76.1(d) Excludes Evidence of Seat Belt Usage
       Evidence, then It Violates Ford’s Due Process and Equal Protection Rights




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       The Georgia and United States Constitutions “prohibit the state from depriving any person

of life, liberty, or property, without due process of law.” Schumacher v. City of Roswell, 344 Ga.

App. 135, 138 (2017) (citation omitted). Both guarantee procedural and substantive due process.

Id. Substantive due process protects against “government power arbitrarily and oppressively

exercised.” City of Duluth v. Morgan, 287 Ga. App. 322, 324 (2007).

       A.      Ford Has a Right to a Defense

       The U.S. Supreme Court has long held that “[t]he fundamental requisite of due process of

law is the opportunity to be heard.” Goldberg v. Kelly, 397 U.S. 254, 267 (1970) (quoting Grannis

v. Ordean, 234 U.S. 385, 394 (1914)). A litigant’s “right to litigate the issues raised” is

“guaranteed . . . by the Due Process Clause.” United States v. Armour & Co., 402 U.S. 673, 682

(1971). “Due process requires that there be an opportunity to present every available defense.”

Lindsey v. Normet, 405 U.S. 56, 66 (1972) (quoting Am. Sur. Co. v. Baldwin, 287 U.S. 156, 168

(1932)).

       The Third Circuit in Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. City Sav., F.S.B., 28

F.3d 376, 394 (3d Cir. 1994), applied this principle to bar interpretation of a statute as eliminating

a defendant’s ability to present relevant defenses. It reasoned that because “[p]roperty which one

stands to lose as a result of a lawsuit is a property interest protected by the Due Process Clause,”

interpretation of a statute to prevent parties “from presenting defenses and affirmative defenses to

claims which ha[d] been filed against them” must be avoided. Id. The court explained: “[s]uch a

serious deprivation of property without due process of law cannot be countenanced in our

constitutional system.” Id.; cf. Prink v. Rockefeller Ctr., Inc., 398 N.E.2d 517, 522 (N.Y. 1979)

(breach of privileges was required to allow a defendant to adduce relevant evidence and avoid

serious due process concerns).



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       Indeed, the United States Supreme Court has held that a cigarette manufacturer could not

be subjected to punitive damages for “injuring a nonparty victim” because it was given “no

opportunity to defend against the charge” of fraud by establishing, for example, that such

nonparties had assumed the risk of smoking or did not rely on the allegedly fraudulent statements.

Philip Morris USA v. Williams, 549 U.S. 346, 353–54 (2007). The Court reasoned that the

constitutional right to due process guarantees a defendant “an opportunity to present every

available defense.” Id. at 353 (quoting Lindsey, 405 U.S. at 66).

       The Georgia Constitution is the same, if not broader. Ga. Const. Art.1, Sec.1, ¶ XII (“No

person shall be deprived of the right to prosecute or defend, either in person or by an attorney, that

person’s own cause in any of the courts of this state.”).

       A vehicle manufacturer, like any defendant, is entitled to present every available defense

and to litigate the issues raised. United States v. Armour & Co., 402 U.S. 673, 682 (1971). If

interpreted as Plaintiffs urge, the Georgia seat belt gag-rule would deprive defendant

manufacturers of their rights to defend the crashworthy designs of their automobiles. See Clark v.

Mazda Motor Corp., 68 P.3d 207, 210 (Okla. 2003) (Opala, J., concurring) (concluding that

barring evidence of seatbelt nonuse in crashworthiness cases would violate due process). As one

commentator put it, the preclusion of evidence of seatbelt nonuse in a crashworthiness case “is a

denial of due process” because it “denies the manufacturer the right to present evidence that it de-

signed its vehicle with a simple and highly effective means of occupant restraint which the plaintiff

failed to use.” Janice K. O’Grady, Minnesota’s Seat Belt Evidence Gag Rule: Antiquated and

Unfair in Crashworthiness Cases, 15 WM. MITCHELL L. REV. 353, 369 (1989). The Georgia statute

must be interpreted to avoid this result.




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       Considering the specific allegations of this case, Ford has a fundamental right to show that

K. Domingue was not using the primary component of the restraint system. To deny Ford the right

to do so will merely mislead the jury and cause it to render a verdict not based upon the true facts.

Plaintiffs’ Complaint asserts a defect in the restraint system, which includes in part the passenger

airbag. The airbag was only one component to the vehicle’s restraint system. The restraint system

also included seat belts, which, if properly worn, would have prevented K. Domingue from striking

the windshield.

       B.      If Applied as Requested by Plaintiffs, O.C.G.A. § 40-8-76.1(d) Would Violate the
               Rational Basis Test

       Under the rational basis test, a statute satisfies all constitutional requirements if it is

“reasonably related to a proper legislative purpose and is neither arbitrary nor discriminatory.”

C.W. Matthews Contracting Co., Inc. v. Gover, 263 Ga. 108, 109, 428 S.E.2d 796, 798 (1993)

(citations omitted). The purpose behind seat-belt gag rules is to promote seat belt use and bar a

Defendant from defending its conduct by attacking the Plaintiff’s failure to take precautions. The

statute achieves those purposes in two ways. First, the statute bars a Defendant from alleging

contributory negligence against the Plaintiff on the grounds that he/she failed to wear a seat belt.

Second, the statute prevents a Defendant from alleging the Plaintiff’s failure to wear a seat belt

was a proximate cause of his/her damages and arguing that the failure to wear a seat belt should

diminish the Plaintiff’s recovery.

       A third, and unintended effect occurs when the seat belt statute is broadly applied to

effectively bar the Defendant manufacturer’s ability to contest liability and establish the

reasonableness of its design, considering all the factors that went into that design. That outcome

is unrelated to the statute’s underlying rationale. As applied in the manner Plaintiffs advocate, the

evidentiary exclusion does not advance the statute’s objective. The legislature’s intent in passing

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the seat belt statute was grounded in the public policy of encouraging the use of safety seat belts

in occupants of passenger vehicles. Id. The provision excluding admission of seat belt usage was

included in the statute to prevent those who cause vehicular collisions from escaping liability by

introducing evidence of a plaintiff’s failure to wear a seat belt during the accident. Id. at 798–99.

        A statute is unconstitutional, as applied if, in a case like this, the statute is applied to

effectively prevent the defendant from presenting evidence of how the seat belt was meant to work

as part of the intended restraint system design. Ford does not challenge the constitutionality of

O.C.G.A. § 40-8-76.1(d), as applied to prevent a Defendant who allegedly caused the accident

from using seat belt evidence to bar recovery as part of the plaintiff’s negligence or comparative

fault. See Huff v. Shumate, 360 F. Supp. 2d 1197 (D. Wyo. 2004); Mott v. Sun Country Garden

Prod., Inc., 901 P.2d 192 (N.M. App. 1995). Evidence of restraint design and use is offered in this

case for entirely different purposes.

       It would be an unconstitutional violation of due process to apply this statute to allow

Plaintiffs to accuse Ford of an unsafe design of its vehicle’s occupant-restraint system and then

prevent Ford from showing that the design of that very system is safe. “A statute may be

constitutional as written, yet be unconstitutionally applied in a given case.” State ex rel. Miller v.

Locke, 162 W. Va. 946, 253 S.E.2d 540 (1979) (per curiam).

       It is an essential component of procedural fairness that the defendant has an opportunity to

be heard and to present evidence. See Crane v. Kentucky, 476 U.S. 683, 690 (1986). State Court

Judge Toby Prodgers correctly assessed the as applied due process implications in cases just like

this one:

                The court also notes that Ford argues that this case is, among other
                things, a crashworthiness case. Ford argues that plaintiffs contend
                that the vehicle was defectively designed in relation to
                crashworthiness as well as to rollover stability. The court, however,

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                does not understand this to be a crashworthiness case.
                Crashworthiness relates to defects which might be totally unrelated
                to the cause of the crash. For example, a vehicle might crash though
                fault of no one, whether the driver of the vehicle, or other drivers on
                the road, or of the vehicle manufacturer. If a crashworthiness issue
                were to relate to the passenger restraint system, then a strong
                argument could be made that O.C.G.A. § 40-8-76.1(d) has no
                applicability, or, if it did, then due process considerations might
                intervene. Plaintiffs appear to concede as much. See 5/29/03 T.
                166-67. However, the only design defect alleged in this case relates
                to rollover stability of the vehicle, and plaintiffs contend that it is
                that particular defect which caused the crash and plaintiff’s injuries
                ....

See Ex. A, Order from DiMaso v. Ford Motor Co (emphasis added).

        Plaintiffs’ response is to direct the Court’s attention to Denton v. DaimlerChrysler Corp.,

645 F. Supp. 2d 1215 (N.D. Ga. 2009). But Denton is inapposite. In Denton, the Northern District

of Georgia declined to address the constitutionality of the seat belt statute. Denton, 645 F. Supp.

2d at 1220 (“The Court concludes that the circumstances of this case do not warrant a stay for the

Eleventh Circuit to rule on the interpretation and constitutionality of Georgia's seatbelt statute”).

There the court noted that the facts in Denton would fail to provide clear guidance as to the

constitutionality of the seat belt statute because “evidence pertaining to seat belts was introduced

during trial and discussed freely during the course of the trial.” Id. Denton is further distinguishable

for the reason that the defendant there made no attempt to charge the jury on how the seat belt

functioned as a part of the overall restraint system. Id. at 1222. Denton is not persuasive authority.

        The evidence of K. Domingue’s seat belt nonuse is so crucial to Ford’s defense in this case

that the exclusion of it would deprive Ford of a fair opportunity to defend its product and would

be tantamount to an unfair trial, violating Ford’s due process rights. See e.g., Crane v. Kentucky,

476 U.S. 683, 687 (1986) (finding the fundamental right to due process includes “a fair opportunity

to present a defense.”); Chambers v. Mississippi, 410 U.S. 284, 302 (1973) (finding the trial court’s



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evidentiary rulings precluding testimony that was critical to the defense case deprived the

defendant of a fair trial in violation of his due process rights); Wheeler v. N. L. R. B., 314 F.2d

260 (D.C. Cir. 1963) (finding the Examiner violated the employer’s due process rights by allowing

the General Counsel to present evidence of the parties’ bargaining history, but not letting the

employer to do so).

       While the Georgia Legislature may pass laws affecting the safety of its citizens, it is not

authorized to deny a Defendant’s due process protections.

       C.      If Applied as Plaintiffs Advocate, the Georgia Seat Belt Gag-Rule Would
               Discriminate Against Automotive Manufacturers in Violation of the Equal
               Protection Clauses of both the Georgia and Federal Constitutions

       The equal protection clauses of the Georgia and Federal Constitutions require that state

action “treat similarly situated individuals in a similar manner.” City of Atlanta v. Watson, 267 Ga.

185, 187 (1996). A successful equal protection challenge generally requires a showing that state

action was undertaken with an unreasonable purpose or was arbitrary and capricious. Id. The equal

protection guarantees of the U.S. Constitution and the Georgia Constitution, prohibit the

legislature from “creating a classification which serves no rational purpose or which arbitrarily

divides similarly situated citizens into difference classes and treats them differently.” Pace v.

Smith, 248 Ga. 728, 286 S.E.2d 18, 20 (1982). The proper inquiry for equal protection is whether

the means chosen by the legislature are rationally related to the advancement of the statute’s

objectives. Nunnally v. Tr. Co. Bank, 244 Ga. 697, 261 S.E.2d 621, 623 (1979), cert. denied, 445

U.S. 964 (1980). While the Legislature has authority to treat its citizens differently, it is not

permitted to accord such different treatment to a class of persons through means that are wholly

unrelated to the objective of the statute. Bickford v. Nolen, 240 Ga. 255, 240 S.E.2d 24, 26 (1977).

To be constitutional, a classification must be “reasonable, not arbitrary, and must rest upon some



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ground of difference having a fair and substantial relation to the object of the legislation . . .” Id.

(quoting F.S. Royster Guano Co. v. Commonwealth of Virginia, 253 U.S. 412, 415 (1920)).

       Here, there is no rational reason for denying Ford the right to present relevant and material

evidence in defense of its crashworthiness design, merely because in might touch upon seat belt

use. It is purely arbitrary. As advocated by the Plaintiffs, O.C.G.A. § 40-8-76.1(d) would impose

an irrational and arbitrary classification upon one class of litigants. In this case, equal protection

would be violated because the exclusion creates unconstitutionally disparate treatment of

automobile manufacturers like Ford by putting them in a class of litigants denied the ability to use

relevant evidence. Banks v. ICI Americas, contemplates the admission of evidence that bears upon

the risk/utility balancing, including the gravity and severity of the danger posed by the design; the

likelihood of that danger; the user’s knowledge of the product; the efficacy of warnings; the user’s

ability to avoid danger; the state of the art at the time the product is manufactured etc. Unlike other

civil lawsuit Defendants, Ford would be prevented from using relevant and material evidence to

rebut the Plaintiffs’ defect allegations, simply because that evidence involves an occupant’s failure

to use an available seat belt. None of the uses or purposes for that evidence as outlined herein

offends the Legislature’s objectives in O.C.G.A. § 40-8-76.1(d).

       D.      Ford’s Statutory Construction Is the Correct One

       The Georgia Supreme Court seeks to interpret Georgia’s statutes “to avoid ... constitutional

issues.” Postell v. Humphrey, 604 S.E.2d 517, 519 (Ga. 2004); see also 105 Floyd Rd., Inc. v.

Crisp Cty., 613 S.E.2d 632, 636 n.5 (Ga. 2005) (“this Court has the authority to impose a narrow

construction on legislation to avoid constitutional infirmities”). Indeed, the court will construe a

statute in a manner contrary to its clear terms to avoid unconstitutionality. See, e.g., Mansfield v.

Pannell, 261 Ga. 243, 404 S.E.2d 104, 105–06 (1991). The Georgia statute should not be


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unconstitutionally interpreted to bar seat belt evidence as described herein in crashworthiness such

as this.

                                         CONCLUSION

           Defendant Ford Motor Company respectfully requests this Court deny Plaintiffs’ Motion

in Limine, allow the admission all seat belt evidence, including seat belt usage evidence, and hold

O.C.G.A. § 40-8-76.1(d) unconstitutional to the extent discussed above.

    Respectfully submitted this 27th day of July, 2021.

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                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF system which will automatically send email notification of such filing to the
following attorneys of record:

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       This 27th day of July 2021.



                                                     s/ Michael R. Boorman
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